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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA
                                 PHILADELPHIA DIVISION

 In re:                                             Bankruptcy Case No.: 17-17423-jkf

 John B. Elbert,                                    Chapter 13
                          Debtor.
                                                    Related to Doc. No. 2
 NATIONSTAR MORTGAGE LLC D/B/A
 CHAMPION MORTGAGE COMPANY,

                          Objecting Party
      v.


 John B. Elbert, Debtor and Frederick L. Reigle,
 Chapter 13 Trustee,

                          Respondents.



           OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN
NATIONSTAR MORTGAGE LLC D/B/A CHAMPION MORTGAGE COMPANY ("Secured
Creditor”), by and through its undersigned counsel, objects to confirmation of Debtor’s Chapter
13 Plan (DE #2), and states as follows:
   1. Debtor, John B Elbert, (“Debtor”), filed a voluntary petition pursuant to Chapter 13 of the
          Bankruptcy Code on November 1, 2017.
   2. Secured Creditor holds a security interest in the Debtor’s real property located at 66 Quail
          Hollow Drive, Sewell, 08080, by virtue of a Mortgage recorded on December 31, 2012 in
          Book 13365, at Page 113 of the Public Records of Gloucester County. Said Mortgage
          secures a Note in the amount of $540,000.00.
   3. The Debtor filed a Chapter 13 Plan on November 1, 2017.
   4. The Plan includes payments toward the Note and Mortgage with Secured Creditor,
          however the figures used by the Debtor are inaccurate. It is anticipated that Secured

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     Creditor’s claim will show the pre-petition arrearage due Secured Creditor is $55,341.29,
     whereas the Plan proposes to pay only $48,000.00.            Therefore, the Plan is not in
     compliance with the requirements of 11 U.S.C. §§ 1322(b)(3) and 1325(a)(5) and cannot
     be confirmed. Secured Creditor objects to any plan which proposes to pay it anything
     less than $55,341.29 as the pre-petition arrearage over the life of the plan.
  5. Based on Debtor’s Schedules, the Plan does not appear feasible due to the representation
     that sufficient disposable income is not available to support the proposed Plan payments.
     Thus, the plan violates the provisions of 11 U.S.C. § 1325(a)(6) and cannot be confirmed.
  WHEREFORE, Secured Creditor respectfully requests this Court sustain the objections
  stated herein and deny confirmation of Debtor’s Plan, and for such other and further relief as
  the Court may deem just and proper.
  Date: 03/01/2018
                                            Robertson, Anschutz & Schneid, P.L.
                                            Attorney for Secured Creditor
                                            6409 Congress Ave., Suite 100
                                            Boca Raton, FL 33487
                                            Telephone: 561-241-6901
                                            Facsimile: 561-997-6909

                                            By: /s/Kevin Buttery
                                            Kevin Buttery, Esquire
                                            PA Bar Number 319438
                                            Email: kbuttery@rascrane.com




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                                CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on March 7, 2018, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been
served via CM/ECF or United States Mail to the following parties:
MITCHELL LEE CHAMBERS, JR.
LAW OFFICES OF MITCHELL LEE CHAMBERS
ATTORNEY FOR DEBTOR
602 LITTLE GLOUCESTER ROAD
SUITE 5
BLACKWOOD, NJ 08012

JOHN B. ELBERT
DEBTOR
66 QUAIL HOLLOW DRIVE
SEWELL, NJ 08080

FREDERICK L. REIGLE
TRUSTEE
2901 ST. LAWRENCE AVE.
P.O. BOX 4010
READING, PA 19606

OFFICE OF THE U.S. TRUSTEE
833 CHESTNUT STREET
SUITE 500
PHILADELPHIA, PA 19107
                                           Robertson, Anschutz & Schneid, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909

                                           By: /s/Kevin Buttery
                                           Kevin Buttery, Esquire
                                           PA Bar Number 319438
                                           Email: kbuttery@rascrane.com




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